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  8                              UNITED STATES DISTRICT COURT
  9                           SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                                   CASE NO. 95cr1332-R
 12                                            Plaintiff,          Order Denying Request for
                 vs.                                               Expungement of Record
 13
       MARIE BYAM (7),
 14
                                             Defendant.
 15
 16             Defendant Marie Byam has filed a motion asking the Court to expunge her record in this
 17   case. The Court DENIES her motion.
 18             The court has very limited authority to expunge criminal convictions. United States v.
 19   Sumner, 226 F.3d 1005, 1009 (9th Cir. 2000). “[D]istrict courts do not have the power ‘to expunge
 20   a record of a valid arrest and conviction solely for equitable considerations,’ because ‘the
 21   expungement of the record of a valid arrest and conviction usurps the powers that the framers of
 22   the Constitution allocated to Congress, the Executive, and the states.’” United States v. Crowell,
 23   374 F.3d 790, 793 (9th Cir. 2004). Absent express statutory authority, therefore, the court “is
 24   limited to expunging the record of an unlawful arrest or conviction, or to correcting a clerical
 25   error.”
 26             The record of this case reflects Ms. Byam pled guilty to conspiracy to distribute
 27   methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 846. Defendant was sentenced to 37
 28   months in custody followed by five years of supervised release. Ms. Byam has not alleged she


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  1   was unlawfully arrested or convicted or that the Court must correct any clerical error. She has not
  2   cited any statute by which the Court is authorized to expunge her conviction. Therefore,
  3   Defendant’s motion is DENIED.
  4          IT IS SO ORDERED.
  5
  6   DATED: October 7, 2009
  7
                                                     IRMA E. GONZALEZ, Chief Judge
  8                                                  United States District Court
  9
      cc:    Marie L. Byam
 10          10260 Princess Sarit Way
             Santee, CA 92071-1277
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